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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.:


 WILLIAM CEPEK,

             PLAINTIFF,


 vs.

 SCOTT ISRAEL,
 IN HIS CAPACITY AS SHERIFF
 OF BROWARD COUNTY, FLORIDA,
 and JOVIAN IRIZARRY, individually,

          DEFENDANTS.
 ________________________________/

                                           COMPLAINT

        1.        Plaintiff, William Cepek [hereafter “Plaintiff”] by and through the undersigned

 attorney, sues Scott Israel [hereafter “Defendant Sheriff”], in his capacity as Sheriff of Broward

 County, a subdivision of the State of Florida, and Jovian Irizarry [hereafter “Defendant Irizarry”],

 individually.

        2.        This is an action for damages in excess of Fifteen Thousand Dollars

 ($15,000.00), exclusive of interest, costs, and attorney’s fees.

        3.        This action is brought pursuant to 42 U.S.C. § 1983, 42 U.S.C. § 1988, the

 Fourth and Fourteenth Amendments of the United States Constitution, and the laws of the State

 of Florida. The United States District Court for the Southern District of Florida has jurisdiction

 of this action under 42 U.S.C. § 1983, 42 U.S.C. § 1988, 28 U.S.C. § 1331 and 28 U.S.C. § 1343.

 Plaintiff further invokes the supplemental jurisdiction of the United States District Court for the

 Southern District of Florida under 28 U.S.C. § 1367(a) to hear pendent State tort claims arising

 under State law, pursuant to U.S.C. § 1367(a).



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                                              PARTIES

         4.        Plaintiff is a resident of Broward County, Florida and is subject to the

 jurisdiction of this Court.

         5.        Defendant Sheriff, as Sheriff of Broward County, Florida, is the Sheriff of

 Broward County, Florida, as organized and existing under the Constitution and laws of the State

 of Florida. In this cause, Defendant Sheriff acted through his agents, employees, and servants,

 including Defendant Irizarry.

         6.        At all times material, Defendant Irizarry was acting under color of law as a

 deputy sheriff for Defendant Sheriff, and in such capacity as an agent, servant, and employee of

 Defendant Sheriff.

         7.        All conditions precedent to the maintenance of this action have been performed

 before its filing, including those set forth by Florida Statutes Section 768.28.

                                   GENERAL ALLEGATIONS

         8.        On or about December 12, 2015, late at night while Defendant Irizarry was

 conducting “proactive patrol” in his capacity as a deputy sheriff for Broward County, he

 observed Plaintiff placing trash in a dumpster and standing next to a white SUV that was parked

 outside of The Sign Studio, a business located at 2381 Griffin Road, in Broward County, Florida.

         9.        Defendant Irizarry activated his overhead lights and detained Plaintiff,

 commanding him to produce identification.

         10.       Plaintiff asked why he was required to produce identification when he has done

 nothing wrong.

         11.       Defendant Irizarry then commanded Plaintiff to place his hands in the air, and

 Plaintiff immediately complied.

         12.       Defendant Irizarry approached Plaintiff with his hand on his firearm.

         13.       Defendant Irizarry then lunged at Plaintiff, grabbing Plaintiff’s arm in an effort

 to handcuff or otherwise restrain his freedom of movement.
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         14.      While Defendant Irizarry was lunging at Plaintiff to grab him, Plaintiff

 stumbled and fell into Plaintiff’s work van, breaking a rear taillight, and causing several

 scratches and bruises on Plaintiff’s arm.

         15.      Plaintiff informed Defendant Irizarry that he owned the property and worked at

 The Sign Studio, and that he was entitled to be there.

         16.      Deputies Benjamin, Gonzalez, and McPartland arrived on scene and, without

 speaking with anyone, immediately threw Plaintiff on the ground, even though Plaintiff was

 standing with his arms above his head with his palms open and facing forward.

         17.       As Plaintiff lay on the ground motionless, Defendant Irizarry gratuitously

 kneed Plaintiff in the face and otherwise battered him, rendering him unconscious.

         18.      Plaintiff suffered numerous injuries as a result of Defendant Irizarry’s actions,

 including but not limited to bruised ribs and shoulders, lacerations to his elbow and knee, his lips

 being busted open, bloody mouth and back of head, and a chipped tooth.

         19.      Defendant Irizarry charged Plaintiff with resisting an officer without violence, a

 charge that the Broward State Attorney’s Office subsequently dismissed on or about June 29,

 2016.

                                              COUNT 1

     VIOLATION OF FOURTH AMENDMENT EXCESSIVE FORCE CLAIM BY
  PLAINTIFF AGAINST DEFENDANT IRIZARRY, COGNIZABLE UNDER 42 U.S.C. §
                                1983

         20.      Plaintiff realleges and adopts, as if fully set forth in Count 1, the allegations of

 paragraphs 1 through 19.

         21.      This cause of action is brought by Plaintiff against Defendant Irizarry for

 deprivation of constitutional rights within the meaning of 42 U.S.C. § 1983.

         22.      While Defendant Irizarry was acting under the authority of the State of Florida

 and under color of law as a police officer in the employ of Defendant Sheriff, he subjected

 Plaintiff to the deprivation of rights and privileges afforded to him by the Constitution of the
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 United States, including the right to be free from the excessive use of force under the Fourth

 Amendment, within the meaning of 42 U.S.C. § 1983.

        23.       Specifically, Defendant Irizarry used unreasonable and excessive force by

 lunging at Plaintiff and/or gratuitously kneeing him in the face when Plaintiff had complied with

 all commands and was laying on the ground motionless without resisting, inflicting numerous

 physical and emotional injuries and damages upon Plaintiff, including but not limited to the

 aforementioned bruises, contusions, lacerations, a chipped tooth, and damage to his vehicle.

        24.       As a direct and proximate result of the above-mentioned unconstitutional acts of

 Defendant Irizarry, Plaintiff suffered mental anguish, loss of capacity for the enjoyment of life,

 physical injury, humiliation personally, and loss of his freedom and civil rights. He suffered

 grievously, was brought into public scandal with great humiliation, suffered loss of income,

 endured mental suffering and aggravation of his physical and mental condition and suffered a

 damaged reputation.

        WHEREFORE, Plaintiff prays:

                  a)    Judgment for compensatory damages in excess of $15,000;

                  b)    Judgment for exemplary damages;

                  c)    Cost of suit;

                  d)    Reasonable attorney’s fees, pursuant to 42 U.S.C § 1988;

                  e)    Trial by jury as to all issues so triable; and

                  f)    Such other relief as this Honorable Court may deem just and appropriate.

                                             COUNT 2

   VIOLATION OF FOURTH AMENDMENT FALSE ARREST/UNLAWFUL SEIZURE
  CLAIM BY PLAINTIFF AGAINST DEFENDANT IRIZARRY, COGNIZABLE UNDER
                                      42 U.S.C. § 1983
       25.   Plaintiff realleges and adopts, as if fully set forth in Count 1, the allegations of

 paragraphs 1 through 19.

        26.       This cause of action is brought by Plaintiff against Defendant Irizarry for

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 deprivation of constitutional rights within the meaning of 42 U.S.C. § 1983.

        27.       While Defendant Irizarry was acting under the authority of the State of Florida

 and under color of law as a police officer in the employ of Defendant Sheriff, he subjected

 Plaintiff to the deprivation of rights and privileges afforded to him by the Constitution of the

 United States, including the right not to be deprived of liberty and to be free from unlawful or

 unreasonable search and/or seizure under the Fourth Amendment, within the meaning of 42

 U.S.C. § 1983.

        28.       Specifically, Defendant Irizarry Defendant Irizarry unlawfully and/or

 unreasonably searched and/or seized Plaintiff by seizing, detaining, and/or continuing to detain

 him with neither reasonable suspicion nor arguable probable cause that any crime was being

 committed, thereby inflicting numerous physical and emotional injuries and damages upon

 Plaintiff, including but not limited to the aforementioned bruises, contusions, lacerations, a

 chipped tooth, and damage to his vehicle.

        29.       As a direct and proximate result of the above-mentioned unconstitutional acts of

 Defendant Irizarry, Plaintiff suffered mental anguish, loss of capacity for the enjoyment of life,

 physical injury, humiliation personally, and loss of his freedom and civil rights. He suffered

 grievously, was brought into public scandal with great humiliation, suffered loss of income,

 endured mental suffering and aggravation of his physical and mental condition and suffered a

 damaged reputation.

        WHEREFORE, Plaintiff prays:

                  g)    Judgment for compensatory damages in excess of $15,000;

                  h)    Judgment for exemplary damages;

                  i)    Cost of suit;

                  j)    Reasonable attorney’s fees, pursuant to 42 U.S.C § 1988;

                  k)    Trial by jury as to all issues so triable; and

                  l)    Such other relief as this Honorable Court may deem just and appropriate.
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                                                 COUNT 3

    ALTERNATELY TO COUNT 4, STATE LAW BATTERY CLAIM BY PLAINTIFF
             AGAINST DEFENDANT IRIZARRY, INDIVIDUALLY

         30.       Plaintiff realleges and adopts, as if specifically stated in Count 3, the allegations

 of paragraphs 1 through 19.

         31.       At all times material, Defendant Irizarry, individually commenced a course of

 conduct such that he intended to touch or make contact with Plaintiff’s body, actually touched

 Plaintiff’s body, the contact was harmful or offensive, and occurred without Plaintiff’s consent.

         32.       At all times material, Defendant Irizarry, individually, commenced a course of

 conduct such that his actions occurred with great force and excessive use of force causing

 Plaintiff bodily injury.

         33.       Alternately to the allegations set forth below in Count 4, the said actions and

 conduct by Defendant Irizarry, individually, were committed in bad faith or with malicious

 purpose or in a manner exhibiting wanton and willful disregard of human rights, safety, or

 property, Defendant Irizarry’s conduct occurred in an individual capacity.

         34.       As a direct and proximate result of the battery, Plaintiff has suffered grievously,

 has been brought into public scandal, and with great humiliation, mental suffering, and damaged

 reputation.

         35.       As a further direct and proximate result of the battery, Plaintiff has further

 suffered physical injury, endured suffering and aggravation of his physical and mental condition,

 loss of capacity for the enjoyment of life, loss of income, and damage to reputation.

         WHEREFORE, Plaintiff prays:

                   a)       Judgment for compensatory damages in excess of $15,000;

                   b)       Cost of suit;

                   c)       Trial by jury as to all issues so triable; and

                   d)       Such other relief as this Honorable Court may deem just and appropriate.

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                                              COUNT 4

    ALTERNATELY TO COUNTS 3 AND 5, RESPONDEAT SUPERIOR/VICARIOUS
   LIABILITY STATE LAW CLAIM OF BATTERY AGAINST DEFENDANT SHERIFF


         36.      Plaintiff realleges and adopts, as if fully set forth in Count 4, the allegations of

 paragraphs 1 through 19.

         37.      Defendant Irizarry intentionally inflicted harmful or offensive contact upon

 Plaintiff.

         38.      The contact occurred without Plaintiff’s consent.

         39.      Alternately to Counts 3 and 5, the intentional harmful or offensive contact upon

 the person of Plaintiff by Defendant Irizarry was committed in the course and scope of

 employment as a police officer employed by Defendant Sheriff, and not in bad faith or with

 malicious purpose or in a manner exhibiting wanton and willful disregard of human rights,

 safety, or property and Defendant Sheriff is thus vicariously liable for the conduct.

         40.      As a police officer and employee of Defendant Sheriff, Defendant Irizarry was

 subject to Defendant Sheriff’s training, supervision, and control.

         41.      As a direct and proximate result of the intentionally inflicted harmful or

 offensive contact, Plaintiff has suffered grievously, has been brought into public scandal, with

 great humiliation, and suffered significant physical injury, emotional, mental, and psychological

 injury, and damaged reputation.

         42.      As a further direct and proximate result of the intentionally inflicted harmful or

 offensive contact, Plaintiff has further suffered mental anguish, endured suffering and

 aggravation of his physical and mental condition, suffered a damaged reputation, loss of capacity

 for the enjoyment of life, loss of income, and personal humiliation.

         43.      Plaintiff’s losses or damages are either permanent or continuing in nature, and

 Plaintiff will suffer losses or damages in the future.

         WHEREFORE, Plaintiff prays:
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                  a)     Judgment for compensatory and economic damages against Defendant

                         Sheriff in excess of $15,000;

                  b)     Cost of suit;

                  c)     Trial by jury as to all issues so triable;

                  d)     Such other relief as this Honorable Court may deem just and appropriate.

                                              COUNT 5

          ALTERNATELY TO COUNT 4, STATE LAW FALSE ARREST/FALSE
            IMPRISONMENT CLAIM AGAINST DEFENDANT IRIZARRY

        44.       Plaintiff realleges and adopts, as if fully set forth in Count 5, the allegations of

 paragraphs 1 through 19.

        45.       Defendant Irizarry, by direct act or indirect procurement, personally participated

 in or proximately caused Plaintiff’s false arrest and/or false imprisonment. Alternately to Count

 4, at all times material, Defendant Irizarry acted in bad faith or with malicious purpose or in a

 manner exhibiting wanton and willful disregard of human rights, safety, or property.

        46.       The actions of Defendant Irizarry were taken in the absence of probable cause

 that Plaintiff committed any criminal offense, and constitute false arrest and/or imprisonment

 under Florida law. The actions of Defendant Irizarry in unlawfully detaining and restraining

 him, and depriving Plaintiff of liberty, were against Plaintiff’s will without legal authority and

 was unreasonable and unwarranted under the circumstances.

        47.       Additionally, given that Plaintiff explicitly provided Defendant Irizarry with his

 lawful purpose for being on his property at his own store, and Defendant Irizarry’s lack of any

 reasonable suspicion that Plaintiff had committed any criminal offense, he acted in a manner

 exhibiting wanton and willful disregard of human rights by falsely seizing and restraining

 Plaintiff, and depriving him of liberty.

        48.       As a result of the false arrest and/or false imprisonment, Plaintiff has suffered

 grievously and has been brought into public scandal, with great humiliation, mental suffering,

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 and damaged reputation, and has suffered other damages, including but not limited to loss of

 earnings, loss of ability to earn future wages, loss of capacity for enjoyment of life, and loss of

 liberty.

            49.     Plaintiff’s losses are either permanent or continuing in nature, and Plaintiff will

 suffer the losses in the future.

            WHEREFORE, Plaintiff prays:

                    a)    Judgment for compensatory damages in excess of $15,000;

                    b)    Cost of suit;

                    c)    Trial by jury as to all issues so triable; and

                    d)    Such other relief as this Honorable Court may deem just and appropriate.



                         DATED this 13th day of December, 2017



                                                           s/ Michael Glasser
                                                         ____________________________
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